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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Norfolk Division

R.M.S. TITANIC, INC.,
successor-in-interest to
Titanic Ventures, limited partnership,
              Plaintiff,

v.                                                          Civil Action No. 2:93cv902

THE WRECKED AND ABANDONED VESSEL,
ITS ENGINES, TACKLE, APPAREL,
APPURTENANCES, CARGO, ETC., LOCATED
WITHIN ONE (1) NAUTICAL MILE OF A POINT
LOCATED AT 41 43/ 32’ NORTH LATITUDE
AND 49 56’ 49” WEST LONGITUDE,
BELIEVED TO BE THE R.M.S. TITANIC
in rem,
            Defendant.

                                      STATUS REPORT

       The United States, as amicus, and on behalf of its National Oceanic and Atmospheric

Administration (“NOAA”), provides the following update concerning the EYOS Expedition to

the Titanic wreck site.

       On September 28, 2018, the acting NOAA Administrator issued an Amended

Authorization to EYOS pursuant to Sec. 113 to permit certain research activities at the Titanic

wreck site. See Amended Authorization (Titanic-2018-001-A1) dated September 28, 2018,

attached. A previous authorization (Titanic-2018-001) was tendered to this Court as Exhibit 1

during the September 18, 2018 Status Hearing. As stated in the Amended Authorization, it

supersedes and replaces in its entirety authorization Titanic-2018-001.

       The Amended Authorization attached hereto is consistent with and no broader than

EYOS’s letter to the Court dated September 21, 2018 describing the research activities it desired

to conduct. See ECF No. 496-1. The Amended Authorization is also consistent with and no

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broader than the language of this Court’s order of September 27, 2018 authorizing EYOS’s

research activities. See ECF No. 497; Amended Authorization at 2 (¶¶ 4-5 of “Authorized

Activity Description” section).

                                            Respectfully submitted,

                                            G. Zachary Terwilliger
                                            United States Attorney

                                     By:     /s/ Kent P. Porter__
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                                CERTIFICATE OF SERVICE

        I hereby certify that on the 28th day of September, 2018, I will electronically file the
foregoing document with the Clerk of Court using the CM/ECF system, which will then send a
notification of electronic filing (NEF) to the following:

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